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WESTERN DISTRICT OF TENNESSEE

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TAMRRA MITCHELL-FORD JUDGMENT IN A CIVIL CASE

'V'.

SHELBY COUNTY PENAL FARM, et al. CASE NO: 05-2478-D

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order
Striking All Pending Motions And Dismissing Compleint entered on
August 24, 2005, this cause is hereby dismissed.

THOMAS M.GOULD

  

 

Clerk of Court

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CV-02478 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

Debra L. Fessenden

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/1emphis7 TN 38103

Jimmy Moore

CIRCUIT COURT, 30TH .TUDICIAL DISTRICT
140 Adams Ave.

Rm. 224

1\/1emphis7 TN 38103

Eugene C. Gaerig

LAW OFFICES OF EUGENE C. GAERIG
100 N. Main Street

Ste. 31 18

1\/1emphis7 TN 38103

Tamara Mitchell-Ford
981 Village Oak Cove
1\/1emphis7 TN 38120

Honorable Bernice Donald
US DISTRICT COURT

